Case 0:24-cv-61679-MD Document 3 Entered on FLSD Docket 09/12/2024 Page 1 of 5

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT
for the

Southern District of Florida [¥]

PROFESSIONAL HAIR PRODUCTS LIMITED,

Plaintiff(s)
Vv

DIAMOND GIRL 27 AVE, INC. d/b/a DIAMOND GIRL
BEAUTY SUPPLY, DIAMOND GIRL BEAUTY, INC.
d/b/a DIAMOND GIRL #2 BEAUTY SUPPLY, HAMDI

ABDALLAH, AMJAD HAMMAD, and MUHANNED
FARRAJ

Civil Action No. 0:24-cv-61679-MD

Nee eee es

Defendant(s)

SUMMONS IN A CIVIL ACTION

TO: (Defendant's name and address) ry. seonq Girl 27 Ave, Inc. d/b/a Diamond Girl Beauty Supply
931 NW 27 Avenue
Fort Lauderdale, Florida 33311

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: es) partlow

100 North Tampa Street, Suite 4000
Tampa, Florida 33602

(813) 402-2880 (Telephone)

(813) 402-2887 (Facsimile)

Email: Eric.Partlow@arlaw.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

SUMMONS

Date. Sep 12, 2024

Deputy Clerk
U.S. District Courts

Clerk of Court
Case 0:24-cv-61679-MD Document 3 Entered on FLSD Docket 09/12/2024 Page 2 of 5

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT
for the

Southern District of Florida [¥]

PROFESSIONAL HAIR PRODUCTS LIMITED,

Plaintiff(s)
Vv

DIAMOND GIRL 27 AVE, INC. d/b/a DIAMOND GIRL
BEAUTY SUPPLY, DIAMOND GIRL BEAUTY, INC.
d/b/a DIAMOND GIRL #2 BEAUTY SUPPLY, HAMDI

ABDALLAH, AMJAD HAMMAD, and MUHANNED
FARRAJ

Civil Action No. 0:24-cv-61679-MD

Nee eee es

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Diamond Girl Beauty, Inc. d/b/a Diamond Girl #2 Beauty Supply
3224 W. Broward Boulevard
Fort Lauderdale, Florida 33312

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: es) partlow

100 North Tampa Street, Suite 4000
Tampa, Florida 33602

(813) 402-2880 (Telephone)

(813) 402-2887 (Facsimile)

Email: Eric.Partlow@arlaw.com

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UNITED STATES DISTRICT COURT
for the

Southern District of Florida [¥]

PROFESSIONAL HAIR PRODUCTS LIMITED,

Plaintiff(s)
Vv

DIAMOND GIRL 27 AVE, INC. d/b/a DIAMOND GIRL
BEAUTY SUPPLY, DIAMOND GIRL BEAUTY, INC.
d/b/a DIAMOND GIRL #2 BEAUTY SUPPLY, HAMDI

ABDALLAH, AMJAD HAMMAD, and MUHANNED
FARRAJ

Civil Action No. 0:24-cv-61679-MD

Nee eee es

Defendant(s)

SUMMONS IN A CIVIL ACTION

TO: (Defendant’s name and address) Hamdi Abdallah

11083 Boston Drive
Hollywood, Florida 33026-4939

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: es) partlow

100 North Tampa Street, Suite 4000
Tampa, Florida 33602

(813) 402-2880 (Telephone)

(813) 402-2887 (Facsimile)

Email: Eric.Partlow@arlaw.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

SUMMONS

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Case 0:24-cv-61679-MD Document 3 Entered on FLSD Docket 09/12/2024 Page 4 of 5

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT
for the

Southern District of Florida [¥]

PROFESSIONAL HAIR PRODUCTS LIMITED,

Plaintiff(s)
Vv

DIAMOND GIRL 27 AVE, INC. d/b/a DIAMOND GIRL
BEAUTY SUPPLY, DIAMOND GIRL BEAUTY, INC.
d/b/a DIAMOND GIRL #2 BEAUTY SUPPLY, HAMDI

ABDALLAH, AMJAD HAMMAD, and MUHANNED
FARRAJ

Civil Action No. 0:24-cv-61679-MD

Nee eee es

Defendant(s)

SUMMONS IN A CIVIL ACTION

TO: (Defendant’s name and address) Amjad Hammad

10330 Majestic Court #25
Parkland, Florida 33076-4804

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: es) partlow

100 North Tampa Street, Suite 4000
Tampa, Florida 33602

(813) 402-2880 (Telephone)

(813) 402-2887 (Facsimile)

Email: Eric.Partlow@arlaw.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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UNITED STATES DISTRICT COURT
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PROFESSIONAL HAIR PRODUCTS LIMITED,

Plaintiff(s)
Vv

DIAMOND GIRL 27 AVE, INC. d/b/a DIAMOND GIRL
BEAUTY SUPPLY, DIAMOND GIRL BEAUTY, INC.
d/b/a DIAMOND GIRL #2 BEAUTY SUPPLY, HAMDI

ABDALLAH, AMJAD HAMMAD, and MUHANNED
FARRAJ

Civil Action No. 0:24-cv-61679-MD

Nee eee es

Defendant(s)

SUMMONS IN A CIVIL ACTION

TO: (Defendant’s name and address) Muhanned Farraj

12157 NW 69th Court
Parkland, Florida 33076-3336

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: es) partlow

100 North Tampa Street, Suite 4000
Tampa, Florida 33602

(813) 402-2880 (Telephone)

(813) 402-2887 (Facsimile)

Email: Eric.Partlow@arlaw.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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SUMMONS

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U.S. District Courts

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